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                                        #261




                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE SOUTHERN DISTRICT OF ILLINOIS

UNITED STATES OF AMERICA,

Plaintiff,

             vs.

GONZALO NUNEZ-CAMACHO,
    a/k/a “Gume,”
    a/k/a “Chalo,”

Defendant.                                          No. 12-cr-30242-02-DRH


                               ORDER OF REMOVAL

      This matter comes before the Court for imposition of sentence.          The

Government has filed a motion seeking a Judicial Order of Removal from the

United States (Doc. 117). This Court makes the following FINDINGS:

      (1)    On January 23, 2013, defendant entered a plea of guilty to Counts 1,

2, and 11 of the Indictment charging Conspiracy to Distribute and Possess With

the Intent to Distribute five kilograms or more of a mixture or substance

containing Cocaine (Count 1); Conspiracy to Distribute and Possess with the

Intent to Distribute Methamphetamine (Count 2); and Interstate Travel in Support

of Racketeering (Count 11).

      (2)    At the time of his plea, defendant admitted that he is a citizen of

Mexico who is in the United States illegally.

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      (3)   Defendant was notified, prior to the entry of his plea in this case, that

the Government intended to request judicial removal.

      (4)   As a result of his convictions in the instant case, defendant is

deportable pursuant to the provisions of Title 8, United States Code, Section

1227(a)(2)(B).

      (5)   This Court has jurisdiction to enter a judicial order of removal at the

time of sentencing pursuant to the provisions of Title 8, United States Code,

Section 1228(c)(1).

      Accordingly, the government’s motion is GRANTED (Doc. 117) and it is

ORDERED that defendant be removed from the United States promptly upon the

satisfaction of his sentence in this case. Immigration and Customs Enforcement,

U.S. Department of Homeland Security is hereby authorized to execute this Order

of Removal according to the applicable laws and regulations of the United States.


      IT IS SO ORDERED.
                                                                    Digitally signed by
      Signed this 31st day of January, 2013.                        David R. Herndon
                                                                    Date: 2013.01.31
                                                                    14:52:54 -06'00'
                                             Chief Judge
                                             United States District Court




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